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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

 Derrick Jones, Jerome Jones, and
 Darnell Rusan,

       PLAINTIFFS,
                                               Cause No. 4:21-cv-600-NCC
 v.

 City of St. Louis, et al.,

       DEFENDANTS.

      Defendants City of St. Louis, Fowlkes, Turner, Borders, and Alexander’s
               Memorandum in Support of their Motion to Dismiss

         Come now Defendants City of St. Louis, Javan Fowlkes, Aisha Turner,

Dirrell Alexander, Debra Willis, and Bruce Borders and in support of their Motion

to Dismiss Plaintiffs’ Second Amended Complaint state the following:

I. Plaintiff’s failed to state a claim for relief in Counts I, II and III of the

Second Amended Complaint alleging excessive force by individual officers in

violation of the Fourteenth Amendment because they have alleged merely de

minimis injuries.


         Defendants Fowlkes, Turner, Borders, Alexander, Willis, and Jones are

entitled to qualified immunity on plaintiffs’ individual claims of excessive force.

The officers are shielded “from liability if their conduct does not violate clearly

established constitutional rights of which a reasonable person would have known.”
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Harlow v. Fitzgerald, 420 U.S. 308 (1975). A two-step inquiry is generally

employed when making a determination of qualified immunity: whether there was

a constitutional violation, and if so, whether the violation was of a clearly

established right a reasonable officer should know. Saucier v. Katz, 533 U.S. 194

(2001). “The Court may address either question first.” Lombardo v. Saint Louis

City, 361 F. Supp. 3d 882, 893 (E.D. Mo. 2019)(citing Boude v. City of Raymore,

855 F.3d 930, 933 (8th Cir. 2017)). "If either question is answered in the negative,

the public official is entitled to qualified immunity." Id. quoting Norris v. Engles,

494 F.3d 634, 637 (8th Cir. 2007).

      The inquiry in an excessive force case brought by a pretrial detainee is

whether there has been a violation of his Fourteenth Amendment right to due

process. Kingsley v. Hendrickson, 576 U.S. 389 (2015). The analysis employed by

the Eighth Circuit in evaluating whether force is excessive in violation of the

Fourteenth Amendment looks at whether the force used by an officer is

unreasonable:

      “Considerations such as the following may bear on the reasonableness or
      unreasonableness of the force used: the relationship between the need for the
      use of force and the amount of force used; the extent of the plaintiff’s injury;
      any effort made by the officer to temper or to limit the amount of force; the
      severity of the security problem at issue; the threat reasonably perceived by
      the officer; and whether the plaintiff was actively resisting. We do not
      consider this list to be exclusive. We mention these factors only to illustrate
      the types of objective circumstances potentially relevant to a determination
      of excessive force. Kingsley v. Hendrickson, 576 U.S. 389, 397
      (2015)(internal citation omitted).
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      The reasonableness inquiry necessarily requires some evaluation of the

significance or amount of force used as well as the significance or severity of

resulting injuries. Because uses of force The Eighth Circuit has held that "[a] de

minimis use of force is insufficient to support a claim, and it may well be that most

plaintiffs showing only de minimis injury can show only a corresponding de

minimis use.” Robinson v. Hawkins, 937 F.3d 1128, 1136 (8th Cir. 2019). And

while evidence of de minimis injury may not necessarily foreclose a claim of

excessive force, it has significant weight in bearing on the question of whether the

force was reasonable under the circumstances. Chambers v. Pennycook, 641 F.3d

898 (8th Cir. 2011)(finding that it was reasonable for officers to believe “they

remained within constitutional bounds” when their use of force caused only de

minimis injury).

      This Eighth Circuit has never held that pepper spray necessarily causes more

than de minimis injury, Peterson v. Kopp, 754 F.3d 594 (8th Cir. 2014), and the

absence of significant injury has a bearing on whether force used was more than de

minimis. A burst of pepper spray that causes momentary pain or discomfort is not

excessive force at all times and under all circumstances. Rather, like a knee in the

back, it can be regarded as a de minimis use of force. Cf. White v. Jackson, 865

F.3d 1064.

      Plaintiffs Derrick Jones, Jerome Jones, Darnell Rusan, and Marrell Withers
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have alleged only de minimis injuries caused by the defendants uses of force. The

lack of significant injury experienced from pepper spray supports the

determination that the officers’ uses of force not only reasonable under the totality

of the circumstances, but de minimis uses of force, entitling the officers to qualified

immunity on these claims.

1.    Count I: Derrick Jones claim against Lt. Javan Fowlkes

      Plaintiff Derrick Jones alleges he was sprayed on or around December 14,

2020, when he expressed a desire to be moved to a different cell because his

cellmate was experiencing signs of COVID-19 infection. Doc. #69-1, para. 19.

Derrick Jones alleges that a female corrections officer engaged in conversation

with him to see if moving cells was a possibility before ultimately telling him he

would have to stay in his current cell. Doc. #69-1, para. 20. Plaintiff does not

allege any facts confirming that the cellmate was actually positive for COVID-19

infection. Plaintiff alleges that after being told he would have to return to his cell,

the female corrections officer left the wing before returning with a can of mace and

other corrections officers. Derrick Jones alleges the female corrections officer then

sprayed him in the eyes and face without giving any warning. Doc. Doc. #69-1,

para. 22-23. He alleges he was then taken to the ground and beaten, put in

handcuffs, and sprayed by Lt. Fowlkes without being warned. Doc. #69-1, paras.

24-25. He concludes that at the time he was sprayed, “he was not acting


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aggressively and was not threatening staff safety.” Doc. #69-1, para. 26. He alleges

that he was then taken to a holding cell in the medical unit where he was sprayed

by Lt. Fowlkes for no reason, before being decontaminated by medical staff. Doc.

Doc. #69-1, para. 28. He claims the pepper spray caused his face and eyes to burn,

that he had difficulty breathing, and that he spent several days in the same clothes,

“the burning mace clinging to his skin and clothes.” Doc. #69-1, para. 28.

      Derrick Jones’ injuries amount to burning feeling on his face and eyes after

he was sprayed and until he was helped to wash them off with water in the medical

unit, and some burning on his skin due to mace residue being left on his clothing.

While the de minimis injuries do not foreclose Derrick Jones’ constitutional claim,

they, combined with the circumstances of the occurrence, bear heavily on the

reasonableness analysis. As pled, this instance of use of force occurred during a

tense and uncertain time for both inmates and corrections staff as they worked to

prevent the spread of COVID-19 virus in the jail. Derrick Jones was displeased

with his directions to return to his cell because he believed his cellmate was

experiencing symptoms of the virus. A physical confrontation ensued which

resulted in Derrick Jones being restrained and transported to the medical unit. This

was a tense and rapidly evolving scenario in the jail.

      Plaintiffs allegations cannot support a finding that he suffered more than de

minimis injuries after being sprayed by Lt. Fowlkes. Plaintiff’s injuries as pled,


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combined with the circumstances of the incident establish that Lt. Fowlkes is

entitled to qualified immunity. As observed by this circuit, “[a] limited application

of mace may be much more humane and effective than a flesh to flesh

confrontation with an inmate.” Jones v. Shields, 207 F.3d 491, 496 (8th Cir.

2000)(internal citation omitted). Lt. Fowlkes is entitled to qualified immunity

because both the use of force and resulting injuries were de minimus, and it would

be reasonable for Lt. Fowlkes to believe he remained within constitutional bounds.

2.    Count II: Jerome Jones’ claim against Lt. Javan Fowlkes

      Plaintiff Jerome Jones pleads that he was pepper sprayed on or about

February 9, 2021 when staff asked him to move cells. Doc. Doc. #69-1, para. 32.

Plaintiff then alleges the following: “CO Robinson and CO Allen told Jerome that

Lt. Fowlkes was going to mace Jerome if he did not comply. Jerome indicated

again he would not move cells, but he was not physically resisting. Jerome was in

handcuffs throughout the course of this entire conversation.” Doc. #69-1, para. 33.

He then alleges that the three officers place him “in a no-contact visiting room”

before he was again asked if he was going to cooperate to move cells. Doc. #69-1,

para. 34. Plaintiff alleges he “responded, ‘No’ and Lt. Fowlkes sprayed an

excessive amount of mace into the visiting booth until it filled the room.” Doc.

#69-1, para. 35. Plaintiff alleges Lt. Fowlkes then closed the door to the visiting

booth and plaintiff Jerome Jones was left there for approximately 25 minutes. Doc.


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#69-1, para. 36.

      Plaintiff Jerome Jones alleges this use of force caused him to have difficulty

breathing while being in the visiting booth after being sprayed and that he

experienced burning eyes, face and body after being sprayed. Doc. #69-1, para. 37.

He alleges he experienced respiratory symptoms, including difficulty breathing,

after this incident, and that he continues to experience these symptoms. Doc. #69-

1, para. 44. He does not allege that he received any sort of medical diagnosis or

treatment for these symptoms while in jail or since being released from custody in

mid-April, but that he personally believes these respiratory symptoms were caused

by this experience of pepper spray exposure while in jail. Doc. #69-1, para. 44.

      Plaintiff Jerome Jones pleads that he was sprayed by Lt. Fowlkes when he

repeatedly refused to cooperate with the officer’s directions. At this point, and

plausibly, Lt. Fowlkes was put in a position that required some use of force to

compel Jerome Jones’ obedience. As plead by Plaintiffs, Lt. Fowlkes asked Jerome

Jones to cooperate and warned him that he would be required to use spray if Jones

would not comply. The force used by Lt. Fowlkes was reasonable under the

circumstances, especially in light of Jones’ defiance and lack of measurable injury

which can be interpreted to have resulted from this incident. The de minimis

injuries combined with plaintiff’s admitted defiance and lack of alternatives for the

officer to pursue should persuade this court to find that Lt. Fowlkes is entitled to


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qualified immunity on Jerome Jones’ claim of excessive force in Count II.

3.    Count III: Plaintiff Darnell Rusan’s claim against Defendants Lt. Aisha

Turner, Lt. Bruce Borders, and Lt. Javan Fowlkes

      Plaintiff Darnell Rusan alleges that while in custody since “around

Thanksgiving of 2020” and “[h]e has been personally maced at least three times,

and has witnessed countless other instances of excessive and unwarranted making

by CJC staff.” Doc. #69-1, para. 45. One of these instances of use of mace was in

December of 2020. Doc. #69-1, para. 47-50. Darnell Rusan alleges he was outside

his cell to make a phone call when Defendant Aisha Turner sprayed him while he

was in the process of terminating the phone call and without warning him. Doc.

#69-1, para. 50-51. He alleges that he picked up a chair to “shield” himself from

the spray when another officer, Michelle Lewis, also sprayed him without warning.

Doc. #69-1, para. 48. He then alleges he was beaten and threatened by other

officers including Direll Alexander while they transported him to the medical unit

and then to another unit in the jail. Doc. #69-1, para. 53-54. Plaintiff Rusan also

alleges he was sprayed by Lt. Fowlkes in February 2021 (at or around the time of

widely reported on inmate riots occurring within the City Justice Center or “CJC”)

when he was being strip searched. Doc. #69-1, para. 58-61. Plaintiff Rusan alleges

that he refused to allow Lt. Fowlkes to search him because he had already been

searched and was uncomfortable, which led to Lt. Fowlkes spraying him. 61. He


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also alleges that he made a joke to one of the searching officers asking, “do you

actually like this job?” prior to being searched. Doc. #69-1, para. 59. Plaintiff

Rusan’s alleges no measurable injuries after being sprayed by Lt. Fowlkes other

than the discomfort caused by the spray.

      The extent of Plaintiff Rusan’s injuries as alleged include burning eyes and

skin after being pepper sprayed, pain, dizziness and some bleeding. Doc. #69-1,

para. 54, 56. Plaintiff Rusan alleges that he sought, but was denied medical

treatment for his injuries, which would presumably have included washing his eyes

and face and having his bleeding wound assessed. Doc. #69-1, para. 62. In addition

to evaluating Plaintiff Rusan’s allegations about his treatment and injuries at the

hands of Lt. Turner, Borders and Alexander, this Court may take judicial notice

that on June 24, 2021, Plaintiff Rusan was indicted by grand jury for his conduct in

CJC on or about December 19, 2021, on charges of felony and misdemeanor

assault for causing physical injury to Officer Lewis by throwing a chair at her and

beating her, and placing Lt. Turner in apprehension of physical injury by throwing

a chair at her. See cause no. 2122-CR00762, pending in the 22nd Judicial Circuit,

State of Missouri. The charging documents in this case demonstrate that the

incident giving rise to the indictment is the same incident Rusan complains of in

this proceeding. See Exhibit A, Probable Cause Statement in Cause No. 2122-

CR00762.


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      Plaintiff’s allegations of injury experienced at the hands of Lt. Turner,

Officer Lewis in December of 2021, amount to no more than de minimis injuries

resulting from the officers’ reasonable use of force, entitling these officers to

qualified immunity. As pled, Lt. Turner and Officer Lewis sprayed Darnell Rusan

while he was outside his cell near the phones in the housing unit. Rusan himself

admits he picked up a chair, which is corroborated by the charging documents in

his pending criminal case. He experienced, merely burning, eyes and skin

attributable to the pepper spray, used by Turner and Lewis. This, in light of the fact

that he was charged for placing Lt. Turner in apprehension of immediate physical

injury, and in fact causing physical injury to Officer Lewis, allows the Court to

conclude that his injuries were merely de minimis and the use of force was

reasonable under the circumstances.

      Similarly, Lt. Fowlkes is entitled to qualified immunity on this claim. He is

alleged to have sprayed an inmate who, even if misunderstood, was uncooperative

during a strip search being conducted at a tumultuous, sensitive and dangerous

time in the jail. These circumstances combined with Plaintiff Rusan’s lack of

measurable injuries entitled Lt. Fowlkes to qualified immunity on this claim of

excessive force.

      Because Rusan has failed to plead facts alleging more than de minimis

injury, he is unable to state a claim for more than de minimis force, and the officers


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are entitled to qualified immunity.

4.    Count IV: Plaintiff Marrell Withers claim against Defendants Debra

Willis and Officer Jones.

      Plaintiff Withers pleads that on January 7, 2022, correctional officers with

the City of St. Louis Justice Center told Plaintiff Withers he was to be housed in a

particular unit for COVID positive detainees. Doc. #69-1, para. 65. Plaintiff

Withers refused to comply with the transfer order and was handcuffed. Plaintiffs’

Doc. #69-1, para. 67. Plaintiff does not plead that he actually complied with

correction officer’s order at any point. Plaintiffs’ Second Amended Complaint.

Plaintiff Withers pleads Defendant Willis told Defendant Jones to mace Plaintiff

Withers. Doc. #69-1, para. 68. Defendant Jones maced Plaintiff Withers. Plaintiffs’

Doc. #69-1, para. 69. Plaintiff Withers further pleads that he was taken to the

hospital unit, but does not plead any injury as the result of the incident. Plaintiffs’

Doc. #69-1, para. 72.

      Apparently, given his pleadings, Plaintiff Wither’s did not suffer even de

minimus injuries as the result of the above-referenced incident.

      Further, Plaintiff Withers’ pled that he was sprayed with mace when he

refused to comply with Defendant Willis’ and Jones’ orders. Given Plaintiff

Withers’ refusal to cooperate and comply with the correction officer’s directions

some degree of force relative to Plaintiff Withers would appear to have been


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appropriate. In the words of the Jones court again, “[a] limited amount application

of mace may be much more humane and effective than a flesh to flesh

confrontation with an inmate.” Jones at 496.

      For the foregoing reasons Defendants Willis’ and Jones’ use of force was

reasonable given the totality of the circumstances and they are protected by the

doctrine of qualified immunity.

II.   Plaintiffs’ claims against the City must be dismissed because Plaintiffs

have failed to show the existence of a widespread custom or policy condoning

use of excessive force; or deprivation of water and inhumane housing

conditions.


      In addition to suing multiple individual officers at CJC, plaintiffs have sued

the City of St. Louis. In order to obtain relief under 42 U.S.C. §1983 against these

defendant, the plaintiffs must plead and prove an actional municipal policy or

custom that caused the claimed constitutional violation. See Bd. Of County

Commissioners v. Brown, 520 U.S. 397 (1997); Marsh v. Phelps County, 902 F.3d

745 (8th Cir. 2018). In order to adequately plead an actionable custom or policy

under §1983, a plaintiff must do more than allege conclusions: the complaint must

state a claim with “facial plausibility,” i.e., the plaintiff pleads factual content “that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009).
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      A plaintiff cannot establish §1983 liability by only identifying conduct

properly attributable to the municipality; instead, a plaintiff must also demonstrate

that, through its deliberate conduct, the municipality was the "moving force"

behind the injury alleged. That is, a plaintiff must show that the municipal action

was taken with the requisite degree of culpability and must demonstrate a direct

causal link between the municipal action and the deprivation of federal rights.

Where a plaintiff claims that the municipality has not directly inflicted an injury,

but nonetheless has caused an employee to do so, rigorous standards of culpability

and causation must be applied to ensure that the municipality is not held liable

solely for the actions of its employee. In Soltesz v. Rushmore Plaza Civic Ctr., 847

F.3d 941, 947 (8th Cir. 2017), the Eighth Circuit observed that, "The Supreme

Court has set a high bar for establishing municipal liability under § 1983."

      Proof of "custom" liability under §1983, therefore, requires (1) proof of

existence of a continuing, widespread, persistent pattern of unconstitutional

misconduct by the municipality's employees; (2) deliberate indifference to or tacit

authorization of such conduct by the municipality's officials after notice of the

misconduct; and (3) the pattern of misconduct was the "moving force" behind the

plaintiff's injury. Metler v. Whitledge, 165 F.3d 1197, 1204 (8th Cir. 1999).

"Notice is the touchstone of deliberate indifference in the context of § 1983

municipal liability." Atkinson v. City of Mountain View, 709 F.3d at 1216.


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      The Eighth Circuit has not directly addressed the quantum of "continuing,

widespread, persistent" conduct that can establish liability, but its view closely

parallels the Fifth Circuit's view that when a plaintiff uses prior incidents to allege

a pattern, the prior incidents "must have occurred for so long or so frequently that

the course of conduct warrants the attribution to the governing body of knowledge

that the objectionable conduct is the expected, accepted practice of [the

municipality's] employees." Webster v. Houston, 735 F.2d 838, 842 (5th Cir. 1984)

(en banc). Both the Eighth and Fifth Circuits reason that to hold municipalities

liable for conduct that does not rise to the level of continuing, widespread

frequency would create the respondeat superior liability that the Supreme Court

repeatedly has rejected in §1983 actions. When a plaintiff alleges an unwritten or

unofficial policy, there must be evidence of a practice, so permanent and well-

settled as to constitute a custom, that existed--a custom having the force of law.

See Brewington v. Keener, 902 F.3d 796, 801 (8th Cir. 2018).

      Plaintiffs also make various conclusory allegations regarding individuals not

parties to this case in which Plaintiffs allege that mace was used. Doc. #69-1, para.

73-77. If taken as true, Plaintiffs’ allegations are still insufficient as they amount to

nothing more than a recitation of the use of mace on other nonparties. Plaintiffs do

not plead whether these above-referenced incidents were justified under the

circumstances or the City’s policy 3.3.15 regarding the Use of Chemical Agents.


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1.    Count VI: Claims against the individual Defendants and the City for the

existence of a custom of Excessive Use of Pepper Spray

      Plaintiffs allege a variety of instances of use of pepper spray in support of

their claim that the City and Defendants “have a widespread custom of using

excessive mace on CJC detainees, without adequate warning, and for the purpose

of inflicting pain.” Doc. #69-1, para. 77. In support of this claim Plaintiffs plead

the Division of Corrections’ policy on use of force which explicitly provides that

pepper spray is not to be used as punishment, as well as a handful of specific

instances of use of pepper spray in the manner they describe including: one

instance of use of pepper spray in November of 2020; one instance in December

2020 (in addition to the Derrick Jones incident); two instances in January 2021

(one when an inmate was “refusing to put his cigarette out” while inside his cell);

four instances in February 2021 (one when another inmate was “standing outside

someone’s cell, trying to defuse tension between that third person” and another

corrections officer); and one instance in May of 2021 (involving a captain spraying

an allegedly compliant inmate in his cell).

      Apart from the allegations of the individual Plaintiffs and their own

experiences and conclusory references to non-parties the Second Amended

Complaint is bereft of specific facts details and facts regarding additional instances

of excessive use of pepper spray. Plaintiffs do allege vague generalities of their


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observance of excessive use of mace on “multiple occasions when there was no

security threat and the detainee was not acting aggressively or actively resisting

staff,” Doc. #69-1, para. 64.

         In support of the claim that there is a widespread custom amounting to a

prescribed policy of using pepper spray on compliant or passive inmates and as a

form of punishment for lack of cooperation, plaintiffs cite and provide a link to

Division of Corrections’ monthly reports1 for October 2020 to March 2021 and

allege that they report “zero allegations of use of force, and zero instances where

staff used force that required minor first aid.” Doc. #69-1, para. 89. Plaintiffs

attempt to suggest that there is a lack of reporting of instances of use of force and

therefore jail administration is effectively condoning this form of excessive force.

However, plaintiffs have omitted from their pleading the fact that these reports

reflect that anywhere from 19 to 50 uses of force (including pepper spray)

involving no injuries to inmates or staff are investigated each month. See Division

of Corrections Monthly Reports. 2

         As discussed above, notice to the municipality and its officials is essential to

succeeding on a Monell claim for liability. If, as plaintiffs suggest (and defendants



1 These monthly reports are published by the Corrections division of the City of St. Louis and provide data regarding
various issues in the jail such as instances of contraband seizure, allegations of excessive force by inmates, number of
inmates receiving mental health treatment and so on.
2 As provided in the first amended complaint, these monthly reports are available on the City website at

https://www.stlouis-mo.gov/government/departments/public-safety/corrections/documents/monthly-reports-
2021.cfm.

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dispute), they were all thwarted in their attempts to grieve the practices of

excessive force in pepper spraying, jail administration almost certainly did not

have notice of the plaintiffs’ grievances. See Doc. #69-1, para. 138. While

defendants’ dispute plaintiffs’ allegations about inaccessibility of the grievance

process, plaintiffs’ allegations fail to state a claim for relief under Monell.

2.    Count X: Custom of shutting off water as punishment for inmate

misconduct

      Plaintiffs allege in Count X of their first amended complaint that “on

February 6, following the uprising of CJC detainees that started the prior evening,

some detainees formerly housed in the fourth-floor pods were moved up to the fifth

floor that same day.” Doc. #69-1, para. 98. Plaintiff alleges that the water supply in

the unit on the fifth floor was cut off in the days following the uprising. Doc. #69-

1, para. 99. According to the pleading, the detainees were not receiving drinking

water and were not able to flush the toilets during the three days following the

uprising. Doc. #69-1, para. 100. Plaintiffs allege additional instances of water

deprivation, arguing that the water shut-offs are a result of malicious and punitive

intentions. Doc. #69-1, para. 106-113. In addition to the instance immediately

following the widely reported on and sensational riot in the jail in early February,

2021, plaintiffs allege three instances of water shut-offs performed by Lt. Fowlkes

(March 5, 2021, May 13, 2021, and May 18, 2021), and one instance of water shut


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off by a C.O. Smith on April 25, 2021. Plaintiffs do not allege with specificity any

other instances of the water being shut off in CJC, but do acknowledge that water

is shut off when inmates commit vandalism such as purposely flooding their cells.

Doc. #69-1, para. 116.

      Plaintiffs’ Monell claim regarding punitive water deprivation fails. A claim

against a municipality and its official capacity employees must allege a practice

that has “occurred for so long or so frequently that the course of conduct warrants

the attribution to the governing body of knowledge that the objectionable conduct

is the expected, accepted practice of [the municipality's] employees." Webster, 735

F.2d 838 at 842. Plaintiffs have simply failed to show that a water shut off

following a violent riot which involved significant damage to the plumbing of the

jail, combined with two instances of Lt. Fowlkes shutting off inmate water, and

one instance of Officer Smith shutting off inmate water, constitutes a custom that

is continuing, widespread and persistent. Additionally, plaintiffs were unable to

avail themselves of any grievance process it is unclear how City policy makers

would have notice of this practice.

III. Plaintiffs’ Counts V, VI, VII, IX, X, and XI fail to state a claim for

injunctive relief.

      In the final paragraph of each of Plaintiffs’ above-referenced counts

Plaintiffs pray for injunctive relief. In Counts V and VI Plaintiffs plead:“… and


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enter an order against the City prohibiting the unconstitutional use of chemical

agents going forward, …” Plaintiffs’ Second Amended Petition, pages 36, 38,

      Further, in Count VII Plaintiffs plead:

             WHEREFORE, Plaintiffs pray this Court enter judgment in their favor
             against the City of St. Louis, and enter an order against the City
             prohibiting the use of chemical agents against detainees with
             disabilities absent provision of a reasonable accommodation,
             including a medical conditions check, and for such further additional
             relief as this Court may deem just and appropriate.


Plaintiffs’ Second Amended Complaint, page 39.

      In Count IX, X, and XI Plaintiffs plead:

              … declare these practices as unconstitutional and enter an order
             against all Defendants prohibiting the use of water deprivation as a
             tactic to unconstitutionally punish of [sic] detainees going forward…

Plaintiffs’ Second Amended Complaint, page 41, 42, and 43.

      The Prisoner Litigation Reform Act (“PLRA”) states:

             (A) Prospective relief in any civil action with respect to prison
             conditions shall extend no further than necessary to correct the
             violation of the Federal right of a particular plaintiff or plaintiffs. The
             court shall not grant or approve any prospective relief unless the court
             finds that such relief is narrowly drawn, extends no further than
             necessary to correct the violation of the Federal right, and is the least
             intrusive means necessary to correct the violation of the Federal right.
             The court shall give substantive weight to any adverse impact on
             public safety or the operation of a criminal justice system caused by
             the relief.


      18 USCS Sec. 3626(a)(1)(A).


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      Plaintiffs prayer that the court issue an injunction “prohibiting all

unconstitutional use of chemical agents going forward” is precisely the type of

request for injunctive relief the PLRA specifically prohibits. There is no method

for determining “constitutionality” as prayed for by Plaintiffs. In effect, Plaintiffs

ask the court to issue an injunction banning all use of chemical agents in the area

of inmate control. Plaintiffs’ pray for what, in effect, is a complete ban on the use

by the CJC of chemical agents at any time under any circumstances.

      Likewise, in Count VII Plaintiff pray for “reasonable accommodations” and

a “medical condition check.” In support, Plaintiffs themselves attached to their

Second Amended Petition the City’s Department of Public Safety/Division of

Corrections policy on Use of Chemical Agents as Exhibit A. Said policy states as

its purpose:


               I. POLICY
               It is the policy of the St. Louis City Division of Corrections to issue
               chemical agents to custody staff for use, to protect themselves or
               others from imminent danger, prevent escapes, and willful destruction
               of facility property if the custody staff concludes that a lesser degree
               of force will not be successful. [Emphasis added].

      Leaving aside what either “reasonable accommodations” or “medical

condition check” actually mean, a medical condition check would be impractical if

not impossible under the circumstance in which chemical agents are deemed

necessary by CJC staff under the language of the above-referenced policy.


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       In Counts IX, X, and XI, Plaintiffs pray for injunctive relief:

              …against all Defendants prohibiting the use of water deprivation as a
             tactic to unconstitutionally punish of detainees going forward,…

       Again, Plaintiffs pray for an injunction that is vague, thus unduly intrusive

and overly board.

       For the foregoing reasons, Defendants pray this court dismiss Plaintiffs’

prayer for injunctive relief in Counts V, VI, and VII.

IV. Plaintiffs failed to state in claim in Counts V and VII for class

certification.

       In Counts V and VII Plaintiffs pray for class certification regarding

excessive use of force and unconstitutional water shut-offs. Doc. #69-1, para. 151-

162.

       Rule 23 Fed. R. Civ. Pro. govern the pleading and certification of class

actions in federal court. Rule 23(a) requires:

             One or more members of a class may sue or be sued as representative
             parties on behalf of all members only if:

                    (1) the class is so numerous that joinder of all members is
                    impracticable;

                    (2) there are questions of law or fact common to the class;

                    (3) the claims or defenses of the representative parties are
                    typical of the claims or defenses of the class; and

                    (4) The representative parties will fairly and adequately protect
                    the interests of the class.
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Rule 23(a) Fed. R. Civ. Pro.

      All Defendants were pretrial detainees at the time of the events in question

in this case. As such, excessive use of force claims against pretrial detainees is

analyzed under the Fourth Amendments “objective reasonableness” standard.

Winnett v. Saline County Jail, 2009 U.S. Dist. LEXIS 148722*, *6; Winnett v.

Saline County Jail, 372 Fed. Appx. 688 (affirmed per curium). The objective

reasonableness standards is “…whether, judging from the perspective of a

reasonable officer at the scene of the [arrest], the totality of the circumstances

justifies the use of the force used.” Moore v. Novak, 146 F.3d 531, 535 (8th Cir.

1998), quoting, Foster v. Metropolitan Airports Comm’n, 914 F.2d 1076, 1081 (8th

Cir. 1990). Further, the objective reasonableness of a given Defendant’s conduct

must be conducted on a case by case basis. Graham v. Connor, 490 U.S. 386, 396.

(1989).

      The objective reasonableness and totality of the circumstances standard

require that each Defendant’s conduct be examined specifically in the context of a

given circumstance and that each potential class members’ conduct be examined in

the same circumstance and an independent determination made by the jury of the

objective reasonableness of the a given Defendants actions on a given day relative

to a given potential class member relative to that class member’s actions in the

same circumstance. This necessity thus conflicts with Rule 23(2)’s requirement
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that each potential member’s potential claim contain the same questions of fact or

law.

        Further, Plaintiffs as potential class representatives, cannot be said to fairly

and adequately protect the interests of the class pursuant to Rule 23(4). In order to

do so under the objective reasonableness and totality of the circumstance’s

standard every single potential class members’ claim would have to be tried

individually within the context of a single case. Plaintiffs claim that this potential

class consists of “…over 500 individuals, including future unknown class

members.” Doc. #69-1, para. 154. Certifying Plaintiffs as class representatives

would still require Plaintiffs to prove that relative to every class member that each

Defendants’ actions were not objectively reasonable in every given circumstance.

The court would effectively conduct “over 500” trials within the context of this one

case.

        For the foregoing reasons, Defendants pray this court grant Defenedants’

Motion to Dismiss Plaintiffs’ Counts V and VII failure to state a claim.

V. Plaintiffs’ fail to state a claim in Counts VII and VIII against all

Defendants for violation of the Americans With Disabilities Act (“ADA”).

        The ADA applies to Qualified Individuals with a Disability. 42 USC

§12132.§ 12131(2) of the ADA, the definition section, defines a Qualified

Individual with a Disability as a person for whom accommodations must be made


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“…for the receipt of services or the participation in programs or activities

provided by a public entity.” 42 USCS § 12131(a) [Emphasis added]. Nowhere do

Plaintiffs plead that the exercise of force, excessive or otherwise, or the punitive

shutting off of water constitutes a service, program, or activity of the City Justice

Center under the ADA. Plaintiffs’ Second Amended Complaint.

      For the foregoing reasons, Plaintiffs’ Counts VII and VIII fail to state a

claim and should be dismissed.

                                  CONCLUSION

      For the reasons stated above Defendants hereby pray this court dismiss

Plaintiffs’ Second Amended Complaint in its entirety for failing to state a claim

and for any other and further relief this court deems appropriate in the

circumstance.

                                                Respectfully submitted,


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                         CERTIFICATE OF SERVICE

       I hereby certify that on June 3, 2022 the foregoing was filed electronically
with the Clerk of the Court to be served by operation of the Court’s electronic filing
system upon all attorneys of record.


                                               /s/ Lawrence Pratt




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